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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
____________________________________
WOODS HOLE OCEANOGRAPHIC              )
INSTITUTION,                          )
                  Plaintiff,          )
v.                                    )    Civil Action No. 1:17-cv-12301
                                      )
ATS SPECIALIZED, INC., RIDGEWAY )
INTERNATIONAL USA, INC., GUY          )
TOMBS LIMITED, AUSTRALIAN             )
NATIONAL MARITIME MUSEUM,             )
SAM BROUGHTON WRIGHT, JR.,            )
SERVICE TIRE TRUCK CENTER, INC., )
and TRAVELCENTERS OF AMERICA, )
                                      )
                  Defendants.         )
____________________________________)


            PARTIALLY ASSENTED-TO MOTION OF DEFENDANTS
         ATS SPECIALIZED, INC. AND SAM BROUGHTON WRIGHT, JR.
     FOR CASE MANAGEMENT CONFERENCE BEFORE MAJISTRATE JUDGE

       Pursuant to Fed. R. Civ. P. 16 and Local R. Civ. P. 16.3(c), the defendants ATS

Specialized, Inc. and Sam Broughton Wright, Jr. (collectively, “ATS”), by their counsel, request

the Court to schedule a case management conference before Magistrate Judge Boal.

       In a September 19, 2018 Electronic Order, the Court referred the case to Magistrate Judge

Boal for Reports and Recommendations about the pending motions to dismiss in this matter.

       ATS requests a case management conference with Magistrate Judge Boal so that it and

the other parties can discuss with her an August 23, 2018 Ruling in a related case in the United

States District Court for the District of Connecticut, Anderson Trucking Service, Inc. v. Eagle

Underwriting Group, Inc., et al., Civil Action No. 3:17-cv-00817 (CSH). ATS has attached a

copy of the Ruling as an exhibit hereto. The Ruling affects how ATS and perhaps the other

parties wish to proceed in this District of Massachusetts case. For example, ATS wishes to
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discuss withdrawing or re-briefing the motion to dismiss it has filed in this case. In that motion,

ATS argued that this District of Massachusetts case should not proceed because a similar lawsuit

was pending in the District of Connecticut, but the District of Connecticut has now dismissed

that action except as against the Australian National Maritime Museum. In light of that ruling,

ATS and perhaps other parties may need to withdraw or re-brief the motions to dismiss and

responses filed in this court. Their doing so could assist the Court in avoiding expending time

and resources in unnecessarily reviewing and ruling on the motions to dismiss in their current

form.

        The plaintiff, Woods Hole Oceanographic Institution, and the defendants Ridgeway

International USA, Inc., Guy Tombs Limited, Service Tire Truck Center, Inc., and Travel

Centers of America assent to this motion. The only other party, the defendant Australian

National Maritime Museum, does not object to this motion.


September 27, 2018                            Respectfully submitted,
                                              by the defendants
                                              ATS SPECIALIZED, INC. and
                                              SAM BROUGHTON WRIGHT, JR.,
                                              by their attorneys,

                                              /s/ Andrew J. Fay
                                              Andrew J. Fay, BBO #550058
                                              Susan E. Bochnak, BBO #681406
                                              Fay Law Group, LLC
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                                              26th Floor
                                              Boston, MA 02108
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                                              email: afay@faylawgrp.com

                                                      --and--

                                              Robert D. Moseley, Jr., pro hac vice
                                              Smith Moore Leatherwood LLP
                                                 2
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                                             2 West Washington Street, Suite 1100
                                             Greenville, SC 29601
                                             phone: (864) 751-7643
                                             email: rob.moseley@smithmoorelaw.com




                              Certification under Local Rule 7.1

        I, Andrew J. Fay, certify pursuant to Local Rule 7.1(a)(2) that I or another attorney in my
office, Craig S. Harwood, have conferred by email with counsel for the plaintiff and counsel for
each of the co-defendants in this case in an attempt to resolve the issue upon which this motion is
based. Counsel for all of the other parties except the Australian National Maritime Museum have
assented to this motion.

                                                     /s/ Andrew J. Fay
                                                     Andrew S. Fay




                                      Certificate of Service

        I certify that on this 27th day of September 2018 a copy of the foregoing was filed
electronically through the court’s CM/ECF system, which will send a notice of this filing by e-
mail to all parties.

                                                     /s/ Susan E. Bochnak
                                                     Susan E. Bochnak




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